      Case 4:16-cv-00164-A Document 20 Filed 07/26/16~·-·-··--IJ-.S-.
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                       IN THE UNITED STATES DISTRI T COT~·-···· ·---~                                       I
                            NORTHERN DISTRICT OF T XAS             T-
                                                              JUl.. 2 6 2016                       I
                                FORT WORTH DIVISIO  ·. ·... ·       I       _j            ______
                                                                 CI.r:RK, tJ.S. DISTl(i'CT CO! 'In
ERIC PEDROZA,                                 §
                                                                  '~----;,~-­
                                              §                               !'.irrmty
               Plaintiff,                     §             ..:.0------
                                              §
vs.                                           §    NO. 4:16-CV-164-A
                                              §
NOISE ATTENUATION CONSTRUCTION,               §
LLC,                                          §
                                              §
               Defendant.                     §


                                           ORDER

        Came on for consideration the motion for legal fees and

costs filed on July 22, 2016, by plaintiff, Eric Pedroza. The

court has reviewed the motion and awarded costs and what the

court expects would be the appropriate fee for attorneys with

similar qualifications to plaintiff's attorneys practicing in

Fort Worth, Texas. The court awards a total of $9148.75 reduced

by 10% to $8,233.88 in attorneys' fees and $771.29 in costs for a

total of $9,005.17. Therefore,

        The court ORDERS that plaintiff recover from defendant,

Noise Attenuation Construction, LLC, $9,005.17 for attorneys'

fees and costs in the above-captioned action, plus post-judgment

interest thereon at the rate of 0.55%, computed daily on the
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unpaid balance from the date of entry of this judgment until the

full amount of the judgment is paid, and compounded annually.

     SIGNED July 26, 2016.




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